                                    UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF ARIZONA

                                                    Minute Entry
Hearing Information:
                     Debtor:   POTENTIAL DYNAMIX, LLC
              Case Number:     2:11-BK-28944-DPC           Chapter: 11

       Date / Time / Room:     TUESDAY, FEBRUARY 16, 2021 09:00 AM 6TH FLOOR #603

      Bankruptcy Judge:        DANIEL P. COLLINS
           Courtroom Clerk:    MARGARET KELLY
            Reporter / ECR:    N/A                                                            0.00


Matter:
          ADV: 2-13-00799
          TIMOTHY SHAFFER & Amazon Services LLC vs Amazon Services LLC & TIMOTHY SHAFFER
          TRIAL
          R / M #:   0/ 0


Appearances:

     DALE C. SCHIAN, ATTORNEY FOR TIMOTHY SHAFFER
     MARK C DANGERFIELD, ATTORNEY FOR TIMOTHY SHAFFER
     TIMOTHY SHAFFER, TRUSTEE
     SERENA MORONES, EXPERT WITNESS
     TASHA BACHAND, AMAZON CORPORATE REPRESENTATIVE, WITNESS
     E. WEIANT WILLIAMS, EXPERT WITNESS
     ERIC J WEISS, ATTORNEY FOR AMAZON SERVICES LLC
     MALLORY GITT WEBSTER, ATTORNEY FOR AMAZON SERVICES LLC
     JAMES CROSS, CHAPTER 11 TRUSTEE




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Proceedings:                                                                                                    1.00

          The Court discussed house keeping issues with the parties. The Trial began.

          Mr. Dangerfield made his opening statement.

          Mr. Weiss made his opening statement.

          Mr. Schian stated that an updated Exhibit 131 was sent to the Court to include all the M15 data. Mr.
          Schian noted that there at six excel files that show the additional settlements and they are Exhibits 124
          through 130. Mr. Schian stated that Exhibit 131 and 161 are data files and the rest are pdf files. Mr.
          Schian stated that Exhibit 172 and 177 are the same, Exhibit 177 was a duplicate.

          Mr. Schian moved to admit into evidence the stipulated Joint Exhibits 1 though 12.

          The Court Admitted the Joint Exhibits 1 through 12.

          Mr. Schian moved to admit into evidence the Trustee's Exhibits 104, 105, 107, 116, 140, 141, 144, 147,
          148, 151, 156, 157, 160, 161, 163, 166, 167, 168, 169, 170, 171, and 172.

          Mr. Weiss did not object to the exhibits listed.

          The Court admitted the listed Trustee's Exhibits.

          Mr. Weiss stated that he will wait to admit Amazon's Exhibits.

          Mr. Schian stipulated to admit into evidence Amazon Exhibits 201, 202, 216, 219, 220, 233, and 259.

          The Court admitted the listed Amazon Exhibits.

          The Court takes a lunch recess. Court Resumes.

          Mr. Schian stated that four flash drives have been delivered to the Court.

          Mr. Schian stipulated to admit into evidence Amazon's Exhibit 253.

          The Court admitted Amazon Exhibit 253.

          Mr. Schian clarified the information in Exhibit 252 and the Joint Pretrial Statement. He also noted the
          Joint Pretrial Statement has an error on page 54 paragraph number 6 is part of the Trustee's position.

          The Court verified that the witnesses have been informed of the ground rules of testifying before the

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          Court.

          Mr. Schian called Timothy Shaffer to the stand.

          The Witness Timothy Shaffer was sworn in. Mr. Schian questioned the Witness. Ms. Webster cross
          examined the Witness. Mr. Schian objected to questions and the Court ruled on the objections.

          Ms. Webster moved to admit Exhibit 228 into evidence. Mr. Schian objected to the Exhibit. The Court
          over ruled the objection.

          The Court admitted Exhibit 228.

          The Court questioned the Witness. The Witness is excused.

          Mr. Dangerfield called Serena Morones to the stand.

          The Witness Serena Morones was sworn in. Mr. Dangerfield questioned the Witness.

          Mr. Dangerfield moved to admit into evidence new Trustee Exhibits 178, 179, 180, 181, 182 and 183.

          The Court admitted the new Trustee Exhibits.

          Mr. Weiss cross examined the Witness. Mr. Dangerfield objected to questions and the Court ruled on the
          objections.
          The Court questioned the witness. The Witness was excused for today and will be recalled tomorrow.

          The parties were excused and the trial will resume at 9:00 a.m. on February 17, 2021.




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